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In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS

*********************
REONA DAKOTA LYNCH,      *
                         *                           No. 12-676V
             Petitioner, *                           Special Master Christian J. Moran
                         *
v.                       *                           Filed: June 2, 2014
                         *
SECRETARY OF HEALTH      *                           Stipulation; trivalent influenza
AND HUMAN SERVICES,      *                           (“flu” or “FluMist”) vaccine;
                         *                           optic neuritis.
             Respondent. *
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Alexander Laufer, Eisenhower & Laufer, P.C., Fairfax, VA, for Petitioner;
Glenn Macleod, United States Dep’t of Justice, Washington, DC, for Respondent.

                              UNPUBLISHED DECISION1

      On May 30, 2014, respondent filed a joint stipulation concerning the petition
for compensation filed by Reona Lynch on October 5, 2012. In her petition, Ms.
Lynch alleged that the trivalent influenza (“flu” or “FluMist”) vaccine, which is
contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), and
which she received on September 26, 2009, caused her to suffer a left optic neuritis
with permanent vision loss. Petitioner represents that there has been no prior
award or settlement of a civil action for damages on her behalf as a result of her
alleged vaccine injury.

       Respondent denies that the FluMist vaccine caused petitioner’s alleged left
optic neuritis or any other injury, and further denies that her current disabilities are
a sequela of a vaccine-related injury.
       1
         The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the party has 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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      Nevertheless, the parties agree to the joint stipulation, attached hereto as
“Appendix A.” The undersigned finds said stipulation reasonable and adopts it as
the decision of the Court in awarding damages, on the terms set forth therein.

        Damages awarded in that stipulation include:

        A lump sum of $180,000.00 in the form of a check payable to petitioner,
        Reona Dakota Lynch. This amount represents compensation for all
        damages that would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 12-676V according to this decision
and the attached stipulation.2

        Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-
6353.

        IT IS SO ORDERED.

                                                     s/ Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




        2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

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